
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH





NO. 2-08-166-CR





CESAR LABRADA	APPELLANT



V.



THE STATE OF TEXAS	STATE



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FROM THE 362ND DISTRICT COURT OF DENTON COUNTY



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MEMORANDUM OPINION
(footnote: 1)


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A jury convicted Appellant Cesar Labrada of indecency with a child and assessed his punishment at four years’ confinement. &nbsp;The trial court sentenced him accordingly.

Labrada’s court-appointed appellate counsel has filed a motion to withdraw as counsel and a brief in support of that motion. &nbsp;Counsel’s brief and motion meet the requirements of 
Anders v. California
 by presenting a professional evaluation of the record demonstrating why there are no arguable grounds for relief. &nbsp;386 U.S. 738, 87 S. Ct. 1396 (1967). &nbsp;We gave Labrada an opportunity to file a pro se brief, but he did not file one.

Once an appellant’s court-appointed attorney files a motion to withdraw on the ground that the appeal is frivolous and fulfills the requirements of 
Anders
, this court is obligated to undertake an independent examination of the record
. &nbsp;
See Stafford v. State
, 813 S.W.2d 503, 511 (Tex. Crim. App. 1991); 
Mays v. State,
 904 S.W.2d 920, 922–23 (Tex. App.—Fort Worth 1995, no pet.).
 &nbsp;Only then may we grant counsel’s motion to withdraw. &nbsp;
See Penson v. Ohio,
 488 U.S. 75, 82–83, 109 S. Ct. 346, 351 (1988).

We have carefully reviewed the record and counsel’s brief. &nbsp;We agree with counsel that this appeal is wholly frivolous and without merit; we find nothing in the record that might arguably support the appeal. &nbsp;
See Bledsoe v. State,
 178 S.W.3d 824, 827–28 (Tex. Crim. App. 2005); 
see also Meza v. State,
 206 S.W.3d 684, 685 n.6 (Tex. Crim. App. 2006).
 &nbsp;Accordingly, we 
grant counsel’s motion to withdraw and affirm the trial court’s judgment.
	

PER CURIAM



PANEL: &nbsp;MEIER, LIVINGSTON, and DAUPHINOT, JJ.



DO NOT PUBLISH

Tex. R. App. P. 47.2(b)



DELIVERED: &nbsp;June 18, 2009

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




